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AO 245B (Rev. 6/05 - Judgment in a Criminal Case



                                           United States District Court
                                               Northern District of California

          UNITED STATES OF AMERICA                                      SECOND AMENDED JUDGMENT IN A
                      v.                                                CRIMINAL CASE
             SHOLEH A. HAMEDANI
                                                                        USDC Case Number: CR-09-00504-001 CW
                                                                        BOP Case Number: DCAN409CR000504-001
                                                                        USM Number:        12973-111
                                                                        Defendant’s Attorney : John Paul Reichmuth (AFPD)
 Date of Original Judgment: 5/21/2012
 (Or Date of Last Amended Judgment)

 Reason for Amendment: Correction of
 Sentence for Clerical Mistake
 (Fed.R.Crim.P.36)


THE DEFENDANT:
[x]       pleaded guilty to count(s): Ten of the Superseding Indictment .
[]        pleaded nolo contendere to count(s)       which was accepted by the court.
[]        was found guilty on count(s)      after a plea of not guilty.

The defendant is adjudicated guilty of these offense(s):

                                                                                                       Offense
 Title & Section                        Nature of Offense                                              Ended                   Count

 18 USC § 371                           Conspiracy to Commit Obstruction                            June 26, 2008                Ten

        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[x ]      Counts One through Nine and Eleven         are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic circumstances.

                                                                                                   April 3, 2012
                                                                                          Date of Imposition of Judgment


                                                                                            Signature of Judicial Officer

                                                                                  Honorable Claudia Wilken, U. S. District Judge
                                                                                        Name & Title of Judicial Officer

                                                                                                    April 23, 2014
                                                                                                         Date
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AO 245B (Rev. 12/03) (CAND Rev. 3/07) Judgment in a Criminal Case Sheet 2 - Imprisonment

DEFENDANT:                    SHOLEH A. HAMEDANI                                                           Judgment - Page 2 of 7
CASE NUMBER:                  CR-09-00504-001 CW

                                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 20 months .

[x]       The Court makes the following recommendations to the Bureau of Prisons:
          The Court recommends that the defendant be designated to the Dublin Federal Prison Camp (FPC).


[]        The defendant is remanded to the custody of the United States Marshal. The appearance bond is hereby
          exonerated.

[]        The defendant shall surrender to the United States Marshal for this district.

          [ ] at     [] am [] pm on .
          [ ] as notified by the United States Marshal.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

[x]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:

          [x] before 2:00 pm on May 31, 2012 .
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

at                                                       , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL

                                                                                           By
                                                                                                Deputy United States Marshal
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AO 245B (Rev. 12/03) Judgment in a Criminal Case Sheet 3 - Supervised Release

DEFENDANT:                     SHOLEH A. HAMEDANI                                                          Judgment - Page 3 of 7
CASE NUMBER:                   CR-09-00504-001 CW

                                                              SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and two periodic drug tests
thereafter.
[x]      The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check if applicable.)
[x]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if
         applicable.)
[x]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)
[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
         is a student, as directed by the probation officer. (Check if applicable.)
[]       The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions in this judgment.
                                                         STANDARD CONDITIONS
1)    The defendant shall not leave the judicial district without permission of the court or probation officer;
2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependants and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
      other acceptable reasons;
6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the Court; and
13)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant’s compliance with such notification requirement.



                                         1.
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AO 245B (Rev. 12/03) Judgment in a Criminal Case Sheet 3 - Supervised Release

DEFENDANT:                     SHOLEH A. HAMEDANI                                                            Judgment - Page 4 of 7
CASE NUMBER:                   CR-09-00504-001 CW
                                                 SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall pay any restitution, fine, and special assessment that is imposed by this judgment and that remains unpaid at the
      commencement of the term of supervised release.

2.    The defendant shall provide the probation officer with access to any financial information, including tax returns, and shall authorize
      the probation officer to conduct credit checks and obtain copies of income tax returns.

3.    The defendant shall not open any new lines of credit and/or incur new debt without the prior permission of the probation officer.

4.    Upon release from confinement, the defendant shall reside for a period of three months in a Residential Re-Entry Center (RRC) and
      shall observe the rules of that facility. You shall remain at that facility until discharged by the supervising probation officer.

5.    The defendant shall perform at least 10 hours per week (1,000 hours total) of community service as directed by the probation
      officer.

6.    The defendant shall submit her person, residence, office, vehicle, or any property under her control to a search. Such a search
      shall be conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable
      suspicion of contraband or evidence of a violation of a condition of release. Failure to submit to such a search may be grounds for
      revocation; the defendant shall warn any residents that the premises may be subject to searches.

7.    The defendant shall not own or possess any firearms, ammunition, destructive devices, or other dangerous weapons.

8.    The defendant shall have no contact with any of the victims in this case, directly or indirectly, unless otherwise directed by the
      probation officer.

9.    The defendant shall cooperate in the collection of DNA as directed by the probation officer.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                       SHOLEH A. HAMEDANI                                                                             Judgment - Page 5 of 7
CASE NUMBER:                     CR-09-00504-001 CW
                                                  CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                        Assessment                 Fine               Restitution

      Totals:                                                $ 100                              waived                    to be determined


[x] The determination of restitution is deferred until May 22, 2012 . An Amended Judgment in a Criminal Case
    (AO 245C) will be entered after such determination.

[ ] The defendant shall make restitution (including community restitution) to the following payees in the
amount listed below. The defendant shall make all payments directly to the U.S. District Court Clerk’s Office
who will disburse payments to the payee.

    If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.


 Name of Payee                                                      Total Loss*               Restitution Ordered               Priority or Percentage



                     Totals:                                 $                       $



[ ] Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine
    is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All
    of the payment options on Sheet 6, may be subject to penalties for delinquency and default, pursuant to 18
    U.S.C. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      [ ] the interest requirement is waived for the                           [ ] fine       [ ] restitution.

      [ ] the interest requirement for the                       [ ] fine         [ ] restitution is modified as follows:




 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                        SHOLEH A. HAMEDANI                                                                                  Judgment - Page 6 of 7
CASE NUMBER:                      CR-09-00504-001 CW
                                                             SCHEDULE OF PAYMENTS

   Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as
follows:

A     [x] Lump sum payment of $100 due immediately, balance due

      []      not later than              , or

      [x] in accordance with ( ) C, ( ) D, ( ) E, (x ) F ( x) G or ( ) H below; or

B     [ ] Payment to begin immediately (may be combined with ( ) C, ( ) D, or ( ) F below); or

C     [ ] Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of                                                          (e.g., months
          or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months
          or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision;
          or

E     [ ] Payment during the term of supervised release will commence within (e,g, 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability
          to pay at that time; or

F [x ] Special instructions regarding the payment of criminal monetary penalties: $300/month starting 30 days
after release from custody, subject to adjustment based on ability to pay.


G. [x] In Custody special instructions:

            Payment of criminal monetary penalties is due during imprisonment at the rate of not less than $25.00 per
            quarter and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
            Criminal monetary payments shall be made to the Clerk of U.S. District Court, 450 Golden Gate Ave., Box
            36060, San Francisco, CA 94102

H. [ ] Out of Custody special instructions:

            It is further ordered that the defendant shall pay to the United States a special assessment of $ and a fine
            of $ which shall be due immediately. If incarcerated, payment of criminal monetary payment is due during
            imprisonment and payment shall be through the Bureau of Prisons Inmate Financial Responsibility
            Program. Criminal monetary payments shall be made to the Clerk of U.S. District Court, 450 Golden Gate
            Ave., Box 36060, San Francisco, CA 94102.




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community
restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                        SHOLEH A. HAMEDANI                                                                                  Judgment - Page 7 of 7
CASE NUMBER:                      CR-09-00504-001 CW




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

       []           Joint and Several

         Defendant and co-                Case Numbers                     Total Amount                     Joint and Several                Corresponding
         defendant Names                  (including                                                        Amount                           Payee (if
                                          defendant number)                                                                                  appropriate)




       []           The defendant shall pay the cost of prosecution.

       []           The defendant shall pay the following court cost(s):

       []           The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community
restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
